                   Case 23-11388-CTG               Doc 44       Filed 09/11/23         Page 1 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

OFF LEASE ONLY LLC, et al., 1                              Case No. 23-11388 (CTG)

                             Debtors.                      (Joint Administration Requested)



     AMENDED2 NOTICE OF AGENDA OF FIRST DAY MATTERS SCHEDULED FOR
         HEARING ON SEPTEMBER 11, 2023 AT 1:00 P.M. (EASTERN TIME3)



         THE HEARING WILL BE CONDUCTED ENTIRELY VIA ZOOM ONLY.

            Please see below for the connection and registration information.
Please Note: All individuals participating by video must register by September 8, 2023 at
4:00 p.m. the provided link. After registering your appearance by Zoom, you will receive
  a confirmation email containing information about joining the hearing. You must use
                    your full name when registering and logging into
                  Zoom or you will not be granted access to the hearing.

                                               Registration Link:

      https://debuscourts.zoomgov.com/meeting/register/vJIsf--uqTgrGDHs2kzB73xPLDgXcGrpiLc

       Since the audio will be provided by Zoom, all parties must remain on mute unless
                                     addressing the Court.


1.        Voluntary Petitions:

                                 A. Off Lease Only Parent LLC Case No. 23-11387 (CTG)

                                 B. Off Lease Only LLC Case No. 23-11388 (CTG)

1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real
     Estate Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S.
     Congress Ave., Palm Springs, FL 33406.
2
     Amended items are indicated in bold.
3
      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/OLO
                   Case 23-11388-CTG       Doc 44     Filed 09/11/23    Page 2 of 5




                            C. Colo Real Estate Holdings LLC Case No. 23-11389 (CTG)

                                       First Day Declaration

2.      Declaration of Leland Wilson in Support of the Chapter 11 Petitions and First Day
        Pleadings [Filed 09/07/2023, Docket No. 4]

        Status:    The Debtors will ask the Court to admit the declaration into evidence. To the
        extent the Court or any party in interest have questions regarding the declaration or the
        factual bases for the first-day relief the Debtors seek, the declarant will be available via
        Zoom videoconference.

                                      Administrative Motions

3.      Motion of the Debtors for Entry of an Order Directing the Joint Administration of the
        Debtors’ Chapter 11 Cases [Filed 09/07/2023, Docket No. 2]

        Status:      This matter is going forward.

4.      Application of the Debtors for Entry of Order Authorizing Retention and Appointment
        of Stretto, Inc. as Claims and Noticing Agent [Filed 09/07/2023, Docket No. 5]

        Status:      This matter is going forward.

5.      Motion for Entry of an Order: (I) Authorizing the Debtors To (A) File a Consolidated
        Creditor Matrix, (B) File a Consolidated Top 20 Creditors List, and (C) Redact Certain
        Personally Identifiable Information for Individual Creditors; and (II) Granting Related
        Relief [Filed 09/07/2023, Docket No. 12]

        Status:      This matter is going forward with respect to an interim order.

6.      Motion of the Debtors for Entry of an Order Extending Time for Filing Schedules and
        Statements [Filed 09/07/2023, Docket No. 10]

        Status:      This matter is going forward.

                            First Day Motions Pertaining to Operations

7.      Motion of the Debtors for Entry of Interim and Final Orders (I) Approving Debtors’
        Proposed form of Adequate Assurance of Payment, (II) Establishing Procedures for
        Resolving Objections By Utility Companies, (III) Prohibiting Utility Companies From
        Altering, Refusing, Or Discontinuing Service, and (IV) Granting Related Relief [Filed
        09/07/2023, Docket No. 15]

        Status:      This matter is going forward with respect to an interim order.




DOCS_DE:244723.1
                   Case 23-11388-CTG       Doc 44     Filed 09/11/23    Page 3 of 5




8.      Motion of the Debtors’ for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Pay Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related
        Relief [Filed 09/07/2023, Docket No. 14]

        Status:      This matter is going forward with respect to an interim order.

9.      Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to
        Pay Certain Prepetition Claims of Critical Vendors and (II) Granting Related Relief
        [Filed 09/07/2023, Docket No. 8]

        Status:      This matter is going forward with respect to an interim order.

10.     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Maintenance,
        Administration, and Continuation of the Debtors’ Customer Programs and Sale Programs,
        and (II) Granting Related Relief [Filed 09/07/2023, Docket No. 9]

        Status:      This matter is going forward with respect to an interim order.

11.     Motion of the Debtors for Entry of Interim and Final Orders: (I) Authorizing the Debtors
        to Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Employee
        Expenses, and (II) Granting Related Relief [Filed 09/07/2023, Docket No. 16]

        Status:      This matter is going forward with respect to an interim order.

12.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to (A) Continue to Operate Their Cash Management System, (B) Maintain Existing
        Business Forms, and (II) Granting Related Relief [Filed 09/07/2023, Docket No. 6]

        Status:      This matter is going forward with respect to an interim order.

13.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to (A) Maintain Existing Insurance Policies and the Surety Bond Program and Pay All
        Obligations Arising Thereunder and (B) Continue Their Insurance Premium Financing
        Program, and (II) Granting Related Relief [Filed 09/07/2023, Docket No. 11]

        Status:      This matter is going forward with respect to an interim order.




DOCS_DE:244723.1
                   Case 23-11388-CTG        Doc 44     Filed 09/11/23     Page 4 of 5




                                       Cash Collateral Motion

14.     Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Use of
        Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
        Scheduling A Final Hearing, and (IV) Granting Related Relief [Filed 09/07/2023,
        Docket No. 7]

        Responses Received:

        A.         Objection of Ally Financial Inc. and Ally Bank to Motion of the Debtors for
                   Entry of Interim and Final Orders (I) Authorizing the Use of Cash
                   Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties;
                   (III) Scheduling a Final Hearing; and (IV) Granting Related Relief and
                   Reservation of Rights With Respect to Other First Day Motions (Filed
                   9/11/2023) [Docket No. 41]

        Related Documents:

        A.         Declaration of Michael Keeler in Support of Objection of Ally Financial Inc.
                   and Ally Bank to Motion of the Debtors for Entry of Interim and Final
                   Orders (I) Authorizing the Use of Cash Collateral (Filed 9/11/2023) [Docket
                   No. 42]

        Status:       This matter is going forward with respect to an interim order.

Dated: September 11, 2023                     PACHULSKI STANG ZIEHL & JONES LLP

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DOCS_DE:244723.1
                   Case 23-11388-CTG   Doc 44    Filed 09/11/23      Page 5 of 5



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